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                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA
                               PHILADELPHIA DIVISON

IN RE:         David L Granacher               :              CASE NO.: 14-17412
               Linda C Granacher

       Debtor(s)                              :               CHAPTER 13

                         FOURTH AMENDED CHAPTER 13 PLAN


YOUR RIGHTS WILL BE AFFECTED

If you oppose any provision of this plan you must file a timely written objection. This plan may
be confirmed and become binding on you without further notice or hearing unless a written
objection is filed before the deadline stated on the Notice issued in connection with the filing of
the plan.


1. PLAN FUNDING AND LENGTH OF PLAN

A. Payments by the debtor of $300.62 per month for 60 months. This monthly plan payment will
begin no later than 30 days following the date of the filing of the bankruptcy petition or the date
of conversion to Chapter 13.

B. The debtor is responsible for funding the plan.

2. ADMINSTRATIVE EXPENSES: The Trustee shall FIRST pay the expenses as prescribed
by the Court, for administration of this plan. Attorney Fees: In addition to the retainer of
$1,190.00 already paid by the debtor, the amount of $2,310.00 in the plan.

Name of Creditor Type                    Amount               Monthly Payment       Total Paid
Timothy E.       Attorney’s Fees         $2,310.00            First Funds           $2,310.00
Wilfong, Esquire
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Trustee Commission: Trustee fees. Percentage fees payable to the trustee will be paid at the rate
fixed by the United States Trustee, not to exceed 10%.

3. PRIORITY CLAIMS

A. Allowed unsecured claims entitled to priority under section 507 will be paid in full with the
exception of certain assigned Domestic Support Obligations that may be paid less than 100%
pursuant to section 1322(a)(4):

Name of Creditor                                  Total Payment
Internal Revenue Service                          $2,570.57


3. SECURED CLAIMS

    A. Adequate Protection Payments under Section 1326: Adequate protection payments in the
following amounts will be paid by the debtor to the trustee. The trustee will disburse pre-
confirmation adequate protection payment for which a proof of claim has been filed as soon as
practicable after receipt of said payments from the debtor. Adequate protection payments will
terminate upon confirmation of the debtors’ Chapter 13 Plan, and any further payments to a
creditor previously receiving adequate payments will be governed according to the terms of the
confirmed plan.

Name of                          Account#         Payment                  Month of 1st Payment
Creditor




    B. Mortgages and Other Direct Payments by Debtor. Payments will be made outside the
plan according to the original contract terms, with no modification of contract terms and with
liens retained, until the loan modification is approved. SEE SECTION 6. OTHER PLAN
PROVISIONS.

Name of             Description of           Contractual    Principal        Contract Rate
Creditor            Collateral               Monthly        Balance of Claim Of Interest
                                             Payment
Rushmore Loan       56 Ridge Ave             $1,908.00      $234,762.13         As Agreed until
Management          Phoenixville, PA                                            loan
Services            19460                                                       modification
                                                                                agreement is
                                                                                approved
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    C. Arrears: These amounts will be paid in the plan and liens retained until entry of
discharge.

Name of             Description of           Pre-Petition    Interest Rate      Total to be paid
Creditor            Collateral               Arrears to be                      in Plan
                                             Cured
Springleaf          2007 Yahmaha 1300        $248.24         0%                 $248.24
Financial


Confirmation of this plan shall constitute a finding that the Debtor is curing the default on the
home mortgage note within a reasonable time within the meaning of 11 U.S.C. Section 1322 (b)
(5) and that the plan constitutes the Debtor’s best efforts under all the circumstances, and was
proposed in good faith, within the meaning of 11 U.S.C. Section 727 (a) (9).


    D. Secured Claims Paid According to Modified Terms: These amounts will be paid in the
plan according to modified terms, and liens retain until entry of discharge. The excess of the
creditor’s claims will be treated as an unsecured claim. A MOTION AND/OR AN
ADVERSARY ACTION, AS APPROPRIATE SHALL BE FILED UNDER SECTION 506(a)
TO DETERMINE THE EXTENT, VALIDITY, AND PRIORITY OF THE LIEN.

Name of             Description of       Modified         Interest Rate         Total to be paid
Creditor            Collateral           Principal                              in Plan
                                         Balance of Claim
Springleaf          2007 Yahmaha             $3,960.79    5.25%                 $4,208.89
Financial           1300




   E. Other Secured Claims: To be paid in the plan in the amounts as follows:


Name of             Description of       Modified         Interest Rate         Total to be paid
Creditor            Collateral           Principal                              in Plan
                                         Balance of Claim
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   F. Surrender of Collateral:

Name of Creditor                                   Description of Collateral to be Surrendered


   G. Lien Avoidance. The debtor will move to avoid the liens of the following creditors
pursuant to Section 522(f):

Name of Creditor                                   Description of Collateral


4. UNSECURED CLAIMS

   A. Claims of Unsecured Non-priority Creditors Specially Classified. Includes unsecured
      claims that will be paid in full even though all other unsecured claims may not be paid in
      full.

Name of             Reason for           Amount of Claim Interest Rate             Total Payment
Creditor            Special Class




B. If any Specially Classified Creditor fails to file a Proof of Claim then the creditor shall
be removed from the class and the proceeds shall be paid to the general unsecured
creditors according to the terms of the plan.

C. Claims of General Unsecured Creditors. The debtor estimates that a total of $6,821.79 be
available for distribution to unsecured creditors. The debtor calculates that a minimum of
$0 must be paid to unsecured creditors in order to comply with the liquidation test for
confirmation and debtor calculates that a minimum of $0 must be paid to unsecured, non-priority
creditors in order to comply with the means test.

No interest, penalty or additional charge shall be allowed on any account subsequent to the filing
of the petition herein, except that interest shall be allowed on claims of fully secured creditors in
accordance with 11 U.S.C. §506(b)

The automatic stay provisions of 11 U.S.C. Sec 362 remain in effect as to Debtor(s)

B. Funding

Funding for Unsecured Creditors: Pro rata
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5. EXECUTORY CONTRACTS AND UNEXPIRED LEASES. The following executor
contracts and unexpired leases are assumed (and pre-petition arrears to be cured in the plan) or
rejected (so indicate):

Name of       Description    Monthly       Interest      Pre-          Total          Assume/Reject
Creditor      of             Payment       Rate          Petition      Payment
              Collateral                                 Arrears


6. OTHER PLAN PROVISIONS:

   A. Loan Modification: Debtors shall request a loan modification application for their
      residence located at 56 Ridge Avenue, Phoenixville, PA 19460 from Rushmore Loan
      Management Services as soon as practicable, once this Chapter 13 Plan is filed. While
      the loan modification application is under review, Debtors shall commence direct
      monthly payments in the amount agreed under the current mortgage terms, which
      shall serve as adequate protection payments. Once this Honorable Court approves the
      loan modification agreement, then Debtors shall amend this Chapter 13 Plan and
      Rushmore Loan Management Services shall amend its proof of claim in accordance
      with the terms of the loan modification agreement, if necessary. If the Parties fail to
      enter into a loan modification agreement by December 31, 2015, then Debtors shall
      either surrender their residence to the Mortgagee or voluntarily withdraw their
      Chapter 13 petition which would allow the Mortgagee to seek remedies under state law.

   B. Inheritance: Debtor(s) have the option to voluntarily withdraw from the Chapter 13
      should he receive his pending inheritance without turning over any funds from the
      inheritance to the bankruptcy Trustee or for the benefit of the creditors. However,
      should the Debtor(s) choose to not voluntarily withdraw from the Chapter 13
      Bankruptcy, then any non-exempt inheritance received shall be paid into plan, limited
      to the amount needed to satisfy the claims of creditors, according to the Chapter 13
      Plan’s order of distribution.

7. ORDER OF DISTRIBUTION:

Level 1: Debtor attorney’s fees
Level 2: Domestic Support Obligations
Level 3: Priority claims, pro rata
Level 4: Secured claims, pro rata
Level 5: Specially classified unsecured claims
Level 6: General unsecured claims, pro rata
Level 7: Approved untimely filed unsecured claims

8. REVESTING OF PROPERTY:

Upon confirmation of this plan, title of the property of the estate shall vest in the Debtor(s)
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9. DISCHARGE:

 Upon completion of this plan, all debts listed in the Debtor’s Chapter 13 Statement, except those
excepted by 11 U.S.C. Section 1328(a)(1) or (a)(2) shall be discharged.



                                                            /s/ Timothy E Wilfong
Dated: 07/20/2015                                           ____________________________
                                                            Timothy E Wilfong, Esq.
                                                            Attorney for Debtor(s)
